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                               UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEW JERSEY



  NEWMARKET PHARMACEUTICALS, LLC, a Delaware
  limited liability company,
                                        Plaintiff,                         Civil ActionNo. 17-          (tt,
                         v.                                        )
                                                                   )
                                                                   )
   VETPHARJM, INC., a New York corporation;                        )
   DENNI 0. DAY, an individual; and
   PRELUDE DYNAMICS, LLC, a Texas limited liability                )
   company.                                                        )
                                        Defendants.


                              ORDER GRANTING MOTION TO SEAL

           THIS MATTER having been opened to the Court by Plaintiff NewMarket

   Pharmaceuticals, LLC (“NewMarket), by and through their attorneys, in connection with

  NewMarket’s Motion to Seal Portions of the Verified Complaint tiled with the Court on March

   21, 2017; and the Court having considered the papers submitted by NewMarket in support of the

   within Motion; and papers submitted by Defendants in opposition thereto, if any; and the Court

   having considered and adopted the Declaration of Bryan P. Couch and the Findings of Fact and

   Conclusions of Law submitted by NewMarket in support of the within Motion; and the Court

   having further found that the standards of Local Civil Rule 5.3(c)(3) have been met and support

   the scaling of the foregoing Confidential documents and information; and the Court having

  considered oral argument of the parties, if any; and for the reasons set forth in the record of the

  proceedings, and for other and good cause having been shown,

           IT IS on this day of April 2017;



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           ORDERED that NewMarkets Motion pursuant to Local Civil Rule 5.3(c) to Seal the

   subjcct documents and information is hereby granted; and it is further

           ORDERED that the following shall be sealed:


                         Portions of Plaintiffs Verified Complaint.




                                                        UNITED STATES DISTRICT JUDGE


                                                    ,




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